106 F.3d 385
    Todd Elliott Kogerv.Walter 'Bobo' Cross, Nunzio Melograne, Raymond L. Scheib,Michael F. Coyne, Allegheny County Prothonotary, AlleghenyCounty, a Political Sub-Division of Commonwealth ofPennsylvania, Commonwealth of Pennsylvania, Court of CommonPleas of Allegheny
    NO. 96-3430
    United States Court of Appeals,Third Circuit.
    Dec 30, 1996
    
      Appeal From:  W.D.Pa. , No. 96-cv-00342 ,
      Lancaster, J.
    
    
      1
      AFFIRMED.
    
    